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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE



 CRYSTALLEX INTERNATIONAL
 CORPORATION,

                     Plaintiff,

       v.                                  C.A. No. 17-151-LPS

 BOLIVARIAN REPUBLIC
 OF VENEZUELA,

                     Defendant.


     CRYSTALLEX INTERNATIONAL CORPORATION’S RESPONSE TO THE
    SPECIAL MASTER’S SUPPLEMENTAL REPORT AND RECOMMENDATION

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        Pursuant to this Court’s May 10, 2023 Order, D.I. 559, Plaintiff and Judgment Creditor

 Crystallex International Corporation (“Crystallex”) submits this response to the Special Master’s

 Supplemental Report and Recommendation (the “Supplemental Report”), D.I. 553, recommend-

 ing that the Court order the Special Master to begin the process of selling the attached PDVH

 Shares pursuant to the Court’s October 11, 2022 Sale Procedures Order, D.I. 481.1

                                   SUMMARY OF POSITION

        I. There are no impediments to commencing the Sale Process. That is the core takeaway

 from the Special Master’s Supplemental Report, based on representations of the United States

 Government in an April 7, 2023 letter to the Special Master (the “April 7 DOJ Letter”) and

 months of discussions with all Sale Process Parties, the Special Master’s independent advisors,

 and representatives of the United States Government. The Special Master recommends that prep-

 arations for the Marketing Process begin “without any further delay” and that the “Preparation

 Launch Date be set as soon after June 5, 2023 as the Court is able to consider” the Supplemental

 Report and any responses thereto. D.I. 553 at 3. Crystallex agrees.

        Indeed, subsequent events demonstrate that the case for setting the Preparation Launch

 Date for as soon after June 5, 2023 as practicable is even stronger than the Special Master’s Sup-

 plemental Report suggests. In the days after the Supplemental Report was filed, the United States

 Government published guidance expanding upon its statements in the April 7 DOJ Letter. Through

 this guidance, OFAC has made clear that sanctions do not limit the ability of the Court and Special

 Master to conduct the Sale Process, and that interested parties may participate in it, including with

 the assistance of any necessary advisors, banks, lenders or other individuals or entities necessary


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   Unless otherwise defined herein, capitalized terms have the meaning ascribed to them in the
 Court’s Sale Procedures Order, D.I. 481, entered October 11, 2022. Crystallex refers to the process
 for selling the PDVH Shares outlined in the Sale Procedures Order as the “Sale Process.”


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     to facilitate such participation. Thus, there can be no valid concern that third parties would be

     unwilling to participate in the Sale Process because of OFAC sanctions.

             II. The Special Master’s and his advisors’ view that the current economic environment is

     favorable for the contemplated sale further rebuts any potential objection of the Venezuela Parties,

     or anyone else, to initiating the Sale Process now. Although the statutory requirements are simply

     to publicize the sale and obtain a reasonable price in the context of a forced sale—a standard the

     Sale Procedures unquestionably meet—a sale now, after consistent growth and improvement at

     PDVH’s operating companies and in a positive business environment, will benefit all involved.

                                       CRYSTALLEX’S RESPONSE

I.           The Sale Process May Proceed Without Sanctions Risk

             United States sanctions do not limit the Court’s or the Special Master’s authority to conduct

     the Sale Process, nor the ability of the Sale Process Parties or other third parties to take steps in

     connection with the Sale Procedures. See, e.g., D.I. 443 at 18 (“The Court has not been pointed to

     any legal authority or any other aspect of the sanctions regime that bars the Court from proceeding

     with a sale process, up to and including the selection of a winning bidder, provided that legal title to

     the PDVH Shares is not transferred until after the winning bidder obtains a specific license.”); id. at 36

     (“In light of OFAC’s discretionary authority, and the absence of any indication from any U.S. govern-

     mental entity (including OFAC) that this Court cannot proceed, the Court will proceed with the sale

     process, up to and including selecting a winning bid.”). The only material limitation on the Sale

     Process that the Venezuela-related sanctions regime imposes is the requirement that OFAC ap-

     prove any final buyer of the PDVH Shares before any transfer.

             To the extent that the Venezuela Parties and others have previously attempted to argue to

     the contrary, the Supplemental Report and the April 7 DOJ Letter confirm that OFAC will not

     contest the Court’s prior ruling that a license is not required to conduct the Sale Process, nor will


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 OFAC “take enforcement action against those participating in the Prefatory Steps and those en-

 gaging in transactions that are ordinarily incident and necessary to participation in and compliance

 with such steps.” D.I. 553 at 10 (citing D.I. 553-1).2 Additionally, the Special Master informed

 the Court that “OFAC intends to implement a favorable licensing policy for license applications

 in connection with the execution of the sale.” Id. (quoting D.I. 553-1 at 2).

         In the April 7 DOJ Letter, OFAC indicated that it would make its positions public, which

 it did by publishing FAQ 1123 on May 1, 2023. See OFAC, Frequently Asked Questions

 No. 1123, https://ofac.treasury.gov/faqs/1123 (last visited May 23, 2023). There, OFAC con-

 firmed the Department of Justice’s April 7 representation that OFAC will not challenge the Court’s

 construction of the Venezuela-related sanctions regime to permit all Sale Procedure transactions

 short of executing the sale, nor will OFAC “take enforcement action against any individuals or

 entities for participating in, facilitating, or complying with the prefatory steps set out in the court’s

 Sale Procedures Order, or for engaging in transactions that are ordinarily incident and necessary

 to participating in, facilitating, or complying with such steps.” Id. OFAC also publicly confirmed

 that it “intends to implement a favorable licensing policy toward such license applications in con-

 nection with the execution of a sale as contemplated in the Sale Procedures Order.” Id.

         Expanding on the guidance provided in the April 7 DOJ Letter, OFAC also confirmed it

 will not take enforcement action against individuals or entities “facilitating” the Prefatory Steps or

 “engaging in transactions that are ordinarily incident and necessary” to “facilitating” such steps.

 Id. OFAC thus made clear its position that individuals or entities “such as” “potential or actual




 2
   In the April 7 DOJ Letter, the United States Government defined “Prefatory Steps” as “necessary
 steps prefatory and antecedent to the consummation of the Sales Transaction, including but not
 limited to the Marketing and Bidding Processes established in the Sales Order.” D.I. 553-1 at 1.

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      credit counterparties” who “facilitat[e]” actions in connection with the Sale Process can confi-

      dently provide their services to participants in the Sale Process with no sanctions risk. Id.

             The Executive Branch has thus made clear that sanctions do not limit the full and unfettered

      participation of interested parties in all Prefatory Steps contemplated by the Sale Procedures Order.

      These developments dispense with any previously expressed concern that the sanctions would chill

      bidding, “and that no sale process should commence absent further guidance from OFAC.” D.I.

      408 at 12 (Venezuela Parties arguing that “[p]otential bidders and third-parties necessary to facil-

      itate the process face uncertainty as to the legality of participation in the Sale Process and the

      durability of any non-licensed transaction”) (emphasis in original). Having issued public guidance

      confirming that all steps prefatory to a final sale may be taken with zero sanctions risk, OFAC has

      eliminated any “uncertainty” that the Venezuela Parties previously claimed “would discourage

      bidders.” D.I. 457 at 8.

             Moreover, OFAC’s public guidance that it will take a favorable view of license applica-

      tions to close the Sale Transaction undercuts any attempt by the Venezuela Parties to rehash their

      arguments that current sanctions might dissuade bidders from committing substantial resources to

      the Sale Process.

II.          Arguments Regarding Economic Condition, While Legally Irrelevant, Further
             Undercut Any Attempt To Further Delay The Sale Process

             The Supplemental Report also advises the Court that the current economic conditions and

      CITGO’s recent financial performance create a favorable environment for the proposed sale of the

      PDVH Shares. See D.I. 553 at 11–14. The current state of the oil and gas markets, credit markets,

      and CITGO (PDVH’s primary asset) are irrelevant to the question of whether judgments of United

      States courts should be enforced in accordance with the law. Nevertheless, these findings are




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 evidence that further delay will prejudice Crystallex, the only creditor of Venezuela (or PDVSA

 for that matter), with a served and affirmed writ of attachment against the PDVH Shares.3

         This Court has already held that “all Delaware law requires is a noticed auction of the

 PDVH shares.” D.I. 469 at 2 (internal quotations omitted). The timing of this Court’s carefully

 considered process should not depend on the whims of the market. “[T]he sale process has been

 designed to maximize the value of the PDVH Shares while generating the proceeds to pay the

 attached judgments.” Id. That is more than the law requires. Id.

         These rulings comport with the decisions of courts in similar circumstances, which have

 made clear that “a secured party is under no obligation to delay a[n asset] sale to indulge the debtor’s

 ‘hope that the [ ] market might recover in time’ when . . . faced with ‘highly unsteady market condi-

 tions.’” In re Adobe Trucking, Inc., 2011 WL 6258233, at *13 (Bankr. W.D. Tex. Dec. 15, 2011)

 (quoting Bankers Trust Co. v. J.V. Dowler & Co., 47 N.Y.2d 128, 136 (1979) (applying New York law

 to asset sale triggered by downturn in oil markets)), aff’d, 551 F. App’x 167, 167 (5th Cir. 2014). To

 hold otherwise would be to ignore the nature of a forced sale. It is “forced” because the judgment

 debtor has refused all prior opportunities to satisfy its judgment creditor, whether facilitated by the

 voluntary sale of assets or otherwise. That is why a judicial sale is valid under Delaware law so long

 as a “reasonable process [is] employed to give notice to the public of the sale so that a reasonable price,

 considering the forced sale nature of the transaction, might be obtained.” Deibler v. Atl. Props. Grp.,

 Inc., 652 A.2d 553, 557 (Del. 1995) (emphasis added); accord BFP v. Resolution Tr. Corp., 511 U.S.

 531, 545 (1994) (holding that “a fair and proper price” for property subject to a forced sale is “the price



 3
   Crystallex will address in its submission to be filed on May 24, 2023 the status of any additional
 creditors who may in the future serve Court-approved writs of attachment against the PDVH
 Shares. But Delaware law allows Crystallex to enforce its judgment and there is no reason for
 further delay, particularly in light of the Special Master’s Supplemental Report and the facts out-
 lined herein.


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 in fact received at the [judicial] sale, so long as all the requirements of the State’s . . . law have been

 complied with”).

         The Venezuela Parties have had more than a decade to compensate Crystallex for its ex-

 propriated gold mine, and more than six years to pay Crystallex’s judgment. Even today, the

 Venezuela Parties can satisfy Crystallex’s judgment and stop the Sale Process. They refuse to do

 so. While there is no legal basis to delay an execution sale based on market conditions, the con-

 clusions of the Special Master and his advisors that now is an advantageous time to begin the Sale

 Process further weigh in favor of setting the Preparation Launch Date as soon after June 5, 2023

 as is practical.

                                             CONCLUSION

         For the foregoing reasons, Crystallex agrees with the recommendations in the Special Mas-

 ter’s Supplemental Report and respectfully submits that the Court should direct the Special Master

 to begin the Marketing Process “without any further delay” and that the Preparation Launch Date

 should be set “as soon after June 5, 2023 as the Court is able to consider” the Supplemental Report

 and any responses thereto.




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